CASE 0:18-cv-03075-JRT-KMM Document 1 Filed 11/01/18 Page 1 of 8
CASE 0:18-cv-03075-JRT-KMM Document 1 Filed 11/01/18 Page 2 of 8
CASE 0:18-cv-03075-JRT-KMM Document 1 Filed 11/01/18 Page 3 of 8
CASE 0:18-cv-03075-JRT-KMM Document 1 Filed 11/01/18 Page 4 of 8
CASE 0:18-cv-03075-JRT-KMM Document 1 Filed 11/01/18 Page 5 of 8
CASE 0:18-cv-03075-JRT-KMM Document 1 Filed 11/01/18 Page 6 of 8
CASE 0:18-cv-03075-JRT-KMM Document 1 Filed 11/01/18 Page 7 of 8
CASE 0:18-cv-03075-JRT-KMM Document 1 Filed 11/01/18 Page 8 of 8
